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 Law Firm Bends in Face of Trump Demands
 Paul, Weiss — one of three law firms targeted by President Trump as part of his
 retribution campaign — said it resolved the conflict by agreeing to a range of
 commitments.

             By Michael S. Schmidt


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 President Trump and the head of the law firm Paul, Weiss, Rifkind, Wharton &
 Garrison LLP have reached a deal under which Mr. Trump will drop the executive
 order he leveled against the firm, Mr. Trump said on Thursday.

 In the deal, Mr. Trump said, the firm agreed to a series of commitments, including
 to represent clients no matter their political affiliation and contribute $40 million in
 legal services to causes Mr. Trump has championed, including “the President’s
 Task Force to Combat Antisemitism, and other mutually agreed projects.”

 It’s unclear how the money will be used to help the task force. The firm, Mr. Trump
 said, also agreed to conduct an audit to ensure its hiring practices are merit based
 “and will not adopt, use, or pursue any DEI policies.”

 The deal materialized after the head of the firm, Brad Karp, went to the White
 House this week and had a face-to-face meeting with Mr. Trump to discuss a
 resolution. Members of the legal profession said in interviews that they were
 surprised by the deal, as it appears as if the firm — which is dominated by
 Democrats and has long prided itself in being at the forefront of the fight against
 the government for civil rights — was capitulating to Mr. Trump over an executive
 order that is likely illegal.




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 The agreement is a significant development in the retribution campaign Mr. Trump
 has opened against several top law firms that he sees as having supported efforts
 to help his opponents or unfairly prosecute him. And it is the latest demonstration
 of how Mr. Trump has used his power to extract concessions or public signs of
 support for his agenda from corporate leaders, news organizations and others
 since his election victory in November.

 The White House said that Mr. Karp had acknowledged “wrongdoing” by one of the
 firm’s former partners, Mark F. Pomerantz. Mr. Pomerantz had tried to build a
 criminal case against Mr. Trump several years ago while working at the Manhattan
 district attorney’s office. It was not clear what wrongdoing Mr. Trump was
 referring to.
 Michael S. Schmidt is an investigative reporter for The Times covering Washington. His work focuses on
 tracking and explaining high-profile federal investigations. More about Michael S. Schmidt




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